                 Case 18-51344-lrc                    Doc 5        Filed 01/29/18 Entered 01/29/18 11:37:42                                Desc Main
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  Fill in this information to identify your case:

  Debtor 1              Stephanie               Rochelle                Bennett
                        First Name              Middle Name             Last Name
                                                                                                                     Check if this is an amended plan, and
  Debtor 2                                                                                                           list below the sections of the plan that
  (Spouse, if filing)   First Name              Middle Name             Last Name                                    have been changed. Amendments to
                                                                                                                     sections not listed below will be
United States Bankruptcy Court for the Northern District of Georgia                                                  ineffective even if set out later in this
                                                                                                                     amended plan.
  Case number
  (if known)




Chapter 13 Plan
NOTE:                          The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use
                               in Chapter 13 cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See
                               Order Requiring Local Form for Chapter 13 Plans and Establishing Related Procedures, General Order
                               No. 21-2017, available in the Clerk’s Office and on the Bankruptcy Court’s website, ganb.uscourts.gov.
                               As used in this plan, “Chapter 13 General Order” means General Order No. 21-2017 as it may from time
                               to time be amended or superseded.

  Part 1:                  Notices

To Debtor(s):                  This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                               option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and judicial
                               rulings may not be confirmable.

                               In the following notice to creditors, you must check each box that applies.

To Creditors:                  Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                               Check if applicable.

                                     The plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. § 101(14A)), set out in
                                     § 4.4.
                               You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                               have an attorney, you may wish to consult one.

                               If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                               confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders
                               otherwise. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                               Bankruptcy Rule 3015.

                               To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is
                               deemed allowed unless a party in interest objects. See 11 U.S.C. § 502(a).

                               The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                               controlling, unless the Bankruptcy Court orders otherwise.

                               The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                               not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                               checked, or if no box is checked, the provision will be ineffective even if set out later in the plan.

                                          A limit on the amount of a secured claim, that may result in a partial
                                 § 1.1                                                                                         Included              Not Included
                                          payment or no payment at all to the secured creditor, set out in § 3.2
                                          Avoidance of a judicial lien or nonpossessory, nonpurchase-money
                                 § 1.2                                                                                       Included                   Not Included
                                          security interest, set out in § 3.4

                                 § 1.3    Nonstandard provisions, set out in Part 8                                            Included              Not Included




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Debtor Stephanie Rochelle Bennett                                                          Case number

  Part 2:        Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1   Regular Payments to the trustee; applicable commitment period.
        The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:
        Check one:        36 months               60 months
        Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

        The debtor(s) will pay        $2,410.00 per        month      for the applicable commitment period. If the applicable commitment period is 36
        months, additional Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed
        60 months unless the Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of
        the applicable commitment period, no further Regular Payments will be made.

        Check if applicable.
           The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or
            reproduced. Insert additional lines as needed for more changes.):

        Beginning on               The Regular Payment                  For the following reason (insert reason for change):
        (insert date):             amount will change to
                                   (insert amount):

            September 2018            $2,471.00 per        month        Completion of 401(k) Loan 1

               April 2021             $2,582.00 per        month        Completion of 401(k) Loan 2

               June 2021              $2,665.00 per        month        Completion of 401(k) Loan 3


§ 2.2   Regular Payments; method of payment.
        Regular Payments to the trustee will be made from future income in the following manner:
        Check all that apply.
            Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the trustee the
            amount that should have been deducted.

           Debtor(s) will make payments directly to the trustee.

            Other (specify method of payment):

§ 2.3   Income tax refunds.
        Check one.
           Debtor(s) will retain any income tax refunds received during the pendency of the case.
            Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days of
            filing the return and (2) turn over to the trustee, within 30 days of the receipt of any income tax refund during the applicable
            commitment period for tax years                                             , the amount by which the total of all of the income tax refunds
            received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor’s spouse is not a
            debtor in this case, “tax refunds received” means those attributable to the debtor.

            Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:




§ 2.4   Additional Payments.
        Check one.
           None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5   [Intentionally omitted.]



§ 2.6   Disbursement of funds by trustee to holders of allowed claims.

        (a) Disbursements before confirmation of plan. The trustee will make preconfirmation adequate protection payments to holders of allowed
        claims as set forth in §§ 3.2 and 3.3.
        (b) Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee's statutory fee, the trustee will disburse Regular

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        Payments, Additional Payments, and Tax Refunds that are available for disbursement to make payments to holders of allowed claims as follows:
            (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation, the trustee will disburse all
            available funds from Regular Payments in the following order:
               (A) To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in § 3.2, § 3.3, and
               orders of the Bankruptcy Court;
               (B) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;
               (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4; on
               domestic support obligations as set forth in § 4.4; on the arrearage claims on nonpriority unsecured claims as set forth in § 5.2; and on
               executory contracts and unexpired leases as set forth in § 6.1; and
               (D) To pay claims in the order set forth in § 2.6(b)(3).
            (2) Second and subsequent disbursements after confirmation of Regular Payments. In the second disbursement after confirmation, and
            each month thereafter, the trustee will disburse all available funds from Regular Payments in the order below. All available Regular Payments
            will be distributed to the claims in each paragraph until such claims are paid in full.
               (A) To make concurrent monthly payments, including any amount past due under this plan: on secured claims as set forth in §§ 3.1, 3.2, 3.3,
               and 3.4; on fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3; on domestic support obligations as set forth in
               § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and executory contracts and unexpired leases as
               set forth in § 6.1;
               (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the debtor's
               attorney's fees, expenses, and costs; and
               (C) To pay claims in the order set forth in § 2.6(b)(3).
            (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax Refunds in the
            following order:
               (A) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;
               (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the debtor's
               attorney's fees, expenses, and costs;
               (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4; on
               domestic support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and
               executory contracts and unexpired leases as set forth in § 6.1;
               (D) To pay other Allowed Secured Claims as set forth in § 3.6;
               (E) To pay allowed claims entitled to priority under 11 U.S.C. § 507, other than administrative expenses and domestic support obligations;
               and
               (F) To pay nonpriority unsecured claims not otherwise classified as set forth in § 5.1 (“Unclassified Claims”) and to pay nonpriority
               unsecured claims separately classified as set forth in § 5.3 (“Classified Claims”). The trustee will estimate the total amounts to be disbursed
               during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds available for disbursement on these claims will
               be allocated pro rata to each class, and the funds available for disbursement for each class will be paid pro rata to the creditors in the class.
            (4) Unless the debtor(s) timely advise(s) the trustee otherwise in writing, the trustee may treat and disburse any payments received from the
            debtor(s) as Regular Payments.


  Part 3:        Treatment of Secured Claims

§ 3.1   Maintenance of payments and cure of default, if any.
        Check one.
            None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

§ 3.2   Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.
        Check all that apply.
            None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

§ 3.3   Secured claims excluded from 11 U.S.C. § 506.

        Check one.
             None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.




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              The claims listed below were either:
               (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
               personal use of the debtor(s), or
               (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
               These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the trustee.
               The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the creditor in the
               amount set out in the column headed Monthly preconfirmation adequate protection payment.
               The holder of any claim listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
               (a) payment of the underlying debt determined under nonbankruptcy law, or
               (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt under 11 U.S.C.
               § 1328, at which time the lien will terminate and be released by the creditor.
        Name of creditor                Collateral                          Purchase date         Estimated         Interest      Monthly               Monthly post-
                                                                                                  amount of claim   rate          pre-confirmation      confirmation
+                                                                                                                                 adequate protection   payment to creditor
                                                                                                                                  payment               by trustee

        Bank of America                 Mercedes-Benz C450                  12/2015                    $38,336.00       5.25%                $200.00 $200.00 increasing
 -                                                                                                                                                      to $2,388.00 in
                                                                                                                                                       September 2018

§ 3.4     Lien avoidance.

          Check one.
               None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
               The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
              The judicial liens and/or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which
               the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless the Bankruptcy Court orders otherwise, a judicial lien or security
               interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan.
               The amount of the claim secured by the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the
               extent allowed. The amount, if any, of the claim secured by the judicial lien or security interest that is not avoided will be paid in full as a
               secured claim under the plan to the extent allowed. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be
               avoided, provide the information separately for each lien.
                Information regarding                 Calculation of lien avoidance                                                     Treatment of remaining
                judicial lien or security                                                                                               secured claim
                interest



                Name of creditor                                                                                                        Amount of secured claim after
                                                      a.       Amount of lien                                           $4,038.00       avoidance (line a minus line f)
                OneMain
                                                      b.       Amount of all other liens                               $40,236.00                                 ($900.00)
                Collateral
                Misc. Electronics                     c.    Value of claimed exemptions                                $36,714.00      Interest rate (if applicable)


                                                      d.       Total of lines a, b, and c                              $80,988.00                                %

                                                      e.       Value of debtor(s) interest in                                           Monthly payment on secured
                                                               property                            -                   $76,050.00       claim


                Lien identification (such as          f.   Subtract line e from line d                                  $4,938.00
                judgment date, date of lien
                recording)
                                                      Extent of exemption impairment
                Non-Purchase-Money, Non-
                Possessory Security Interest |        (Check applicable box).
                05/2016
                                                                Line f is equal to or greater than line a.
                                                                 The entire lien is avoided. (Do not complete the next column.)
                                                                 Line f is less than line a.
                                                                 A portion of the lien is avoided. (Complete the next column.)




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             Information regarding                  Calculation of lien avoidance                                                 Treatment of remaining
             judicial lien or security                                                                                            secured claim
             interest



             Name of creditor                                                                                                     Amount of secured claim after
                                                    a.       Amount of lien                                           $1,900.00   avoidance (line a minus line f)
             Sterling Financial Co.
                                                    b.       Amount of all other liens                               $42,374.00                          ($3,038.00)
             Collateral
             Misc. Electronics                      c.    Value of claimed exemptions                                $36,714.00   Interest rate (if applicable)


                                                    d.       Total of lines a, b, and c                              $80,988.00                            %

                                                    e.       Value of debtor(s) interest in                                       Monthly payment on secured
                                                             property                            -                   $76,050.00   claim


             Lien identification (such as           f.   Subtract line e from line d                                  $4,938.00
             judgment date, date of lien
             recording)
                                                    Extent of exemption impairment
             Non-Purchase-Money, Non-
             Possessory Security Interest |         (Check applicable box).
             05/2016
                                                              Line f is equal to or greater than line a.
                                                               The entire lien is avoided. (Do not complete the next column.)
                                                               Line f is less than line a.
                                                               A portion of the lien is avoided. (Complete the next column.)

§ 3.5   Surrender of collateral.

        Check one.
           None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

§ 3.6   Other Allowed Secured Claims.

       A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the rate
            4.25
        of ______%.    Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in interest, may:
        object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification of the claim is
        permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor's lien pursuant to 11 U.S.C. § 522(f), if
        applicable.
        If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured claim
        will be treated as an unsecured claim under Part 5 of this plan.
        The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
        (a) payment of the underlying debt determined under nonbankruptcy law, or
        (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
        § 1328, at which time the lien will terminate and be released by the creditor.




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  Part 4:            Treatment of Fees and Priority Claims

§ 4.1       General.

           Trustee's fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full regardless
            of whether it is listed in § 4.4.
§ 4.2       Trustee's fees.

           Trustee's fees are governed by statute and may change during the course of the case.

§ 4.3       Attorney's fees.

           (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
            $_____________.
                 4,700.00     The allowance and payment of the fees, expenses and costs of the attorney for the debtor(s) are governed by General Order
            22-2017 (“Chapter 13 Attorney's Fees Order”), as it may be amended.

           (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent set
            forth in the Chapter 13 Attorney's Fees Order.

           (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in § 4.3(a)
            above upon application of the attorney in compliance with the Chapter 13 Attorney's Fees Order and after notice and a hearing.

           (d) From the first disbursement after confirmation, the attorney will receive payment under § 2.6(b)(1) up to the allowed amount set forth in
            § 4.3(a).

                                                                                                                 2,029.00
            (e) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $_____________     per month from Regular
            Payments and (2) from Tax Refunds or Additional Payments, as set forth in § 2.6, until all allowed amounts are paid in full.

           (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the debtor(s)
                                 2,500.00
            the amount of $____________,      not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits. If the attorney for the
            debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the
            stated amount or the maximum amount to the attorney, whichever is less.

           (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
                  2,500.00
            $_____________,      not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set forth in
            the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum amount within
            14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13
            Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

           (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the debtor(s),
            from the funds available, any allowed fees, expenses, and costs that are unpaid.

           (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any allowed
            fees, expenses, and costs that are unpaid.


§ 4.4       Priority claims other than attorney's fees.
                None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

            (a) Check one.
               The debtor(s) has/have no domestic support obligations. If this box is checked, the rest of § 4.4(a) need not be completed or reproduced.

                The debtor(s) has/have domestic support obligations as set forth below. The debtor(s) is/are required to pay all post-petition domestic support
                obligations directly to the holder of the claim.

                 Name and address of creditor:               Name and address of child support                      Estimated amount of        Monthly plan payment
    +                                                        enforcement agency entitled to § 1302(d)(1)
                                                             notice
                                                                                                                    claim



        -
            (b) The debtor(s) has/have priority claims other than attorney's fees and domestic support obligations as set forth below:

                 Name and address of creditor:                                                                                 Estimated amount of claim
    +
        -        Georgia Department of Revenue, 1800 Century Blvd Ste 17200, Atlanta, GA 30345                                                                       $0.00


        -        Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101                                                                                       $0.00



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  Part 5:       Treatment of Nonpriority Unsecured Claims
§ 5.1   Nonpriority unsecured claims not separately classified.
        Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims will
        receive:
        Check one.
            A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

            A pro rata portion of the larger of (1) the sum of $___________ and (2) the funds remaining after disbursements have been made to all other
            creditors provided for in this plan.
            The larger of (1) ______% of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have been
            made to all other creditors provided for in this plan.
           100% of the total amount of these claims

        Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims filed and
        allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee's fees, costs, and expenses of the attorney for the
        debtor(s), and other priority claims under Part 4.

§ 5.2   Maintenance of payments and cure of any default on nonpriority unsecured claims.
        Check one.
           None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3   Other separately classified nonpriority unsecured claims.
        Check one.
           None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

  Part 6:       Executory Contracts and Unexpired Leases

§ 6.1   The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
        and unexpired leases are rejected.

        Check one.
           None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

  Part 7:       Vesting of Property of the Estate

§ 7.1   Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in the
        debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon the
        completion of payments by the debtor(s).

  Part 8:       Nonstandard Plan Provisions

§ 8.1   Check “None” or list Nonstandard Plan Provisions.
           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.




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  Part 9:       Signatures

§ 9.1   Signatures of Debtor(s) and Attorney for Debtor(s).
        The debtor(s) must sign below. The attorney for the debtor(s), if any, must sign below.


   8    /s/ Stephanie Rochelle Bennett
        Signature of debtor 1 executed on 01 / 29 / 2018
                                                                                  8    Signature of debtor 2 executed on
                                          MM / DD / YYYY                                                                   MM / DD / YYYY

        2825 Northeast Expy Ne Apt N4                   Atlanta, GA 30345
        Address                                        City, State, ZIP code           Address                                      City, State, ZIP code



   8    /s/ C. Evangeline White 676480
        Signature of attorney for debtor(s)
                                                                                      Date:   01 / 29 / 2018
                                                                                              MM / DD / YYYY



        The Semrad Law Firm, LLC                                                       303 Perimeter Center N Ste 201              Atlanta, GA 30346
        Firm                                                                           Address                                     City, State, ZIP code


By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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